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                                            July 6, 2023

VIA ECF
Honorable Theodore D. Chuang
United States District Judge, U.S. District Court for the District of Maryland
600 Cherrywood Lane
Greenbelt, Maryland 20770

Re:    Thomas Logan v. Oxygen Media, LLC, Case No. 8:23-cv-01156-TDC

Dear Judge Chuang:

       We represent Defendant Oxygen Media, LLC in this case. In accordance with this Court’s
Case Management Order (ECF No. 15), Defendant respectfully requests permission to move to
dismiss Plaintiff’s Complaint pursuant to Fed. R. Civ. P. 12(b)(6).

        The suit arises from a 45-minute television documentary (“the Documentary”), which tells
the story of a murder in Prince George’s County and how law enforcement solved the crime. Three
minutes of the program (at 16:38-19:30) explained Plaintiff’s connection to that investigation.1
The victim was murdered while walking to meet Plaintiff to play basketball, so the victim’s family
voiced their opinion to investigators that Plaintiff might have been involved. The Documentary
recounts how law enforcement proceeded to interview Plaintiff, conduct an extensive investigation
of electronic evidence, conclude the evidence “validated” Plaintiff’s account and therefore
“clear[ed]” him of any involvement. After explaining that Plaintiff was cleared, he is never
mentioned again. The rest of the program depicts how investigators eventually determined that
the victim was murdered by a paramour’s ex-boyfriend (Franklin Scott), with assistance from a
friend (Olajuwon Jackson). Both men were ultimately convicted.

Plaintiff’s Defamation Claim Fails as a Matter of Law

        Every defamation case presents the “threshold question” of whether the challenged
publication “is reasonably capable of a defamatory interpretation” that is alleged by the plaintiff.
Batson v. Shiflett, 325 Md. 684, 723 (1992). That threshold inquiry is purely “a question of law
for the court.” Chesapeake Publ’g Corp. v. Williams, 339 Md. 285, 295 (1995). Courts are
required to assess words within the context of the “whole publication,” which in the context of




1
  Defendant will separately provide the Court with a flash drive containing the Documentary,
which is also accessible at https://www.oxygen.com/final-moments/season-1/episode-8/the-
streets-are-talking.
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films, means that words must be evaluated within the context of the whole program, not in
isolation. See, e.g., Virginia Citizens Def. League v. Couric, 910 F.3d 780, 786 (4th Cir. 2018).

       The Complaint only quotes statements from the Documentary which explain how Plaintiff
came to be investigated by police, omitting all the statements that immediately follow explaining
how and why he was cleared. See, e.g., Complaint ¶¶ 50, 55-58. And on the basis of those cherry-
picked statements, the Complaint alleges the Documentary implied Plaintiff was involved in the
murder. Id. ¶ 45. But viewed as a whole, the program is not reasonably capable of that alleged
meaning. To the contrary, the Documentary affirmatively debunks it. Plaintiff’s claim thus fails
as a matter of law. See, e.g., Couric, 910 F.3d at 786 (“[t]his claim fails because it divorces the
twelve-second clip from the film as a whole”).

        Indeed, courts have repeatedly held that, viewed as a whole, a publication did not convey
that a plaintiff was responsible for a crime or other misconduct even where (unlike here), the
publication did not explicitly report that the plaintiff was officially absolved. For example, in
Chesapeake Publishing the Court of Appeals considered a newspaper article involving allegations
of physical child abuse made in the context of a custody dispute. Like the Documentary, “[t]he
information and opinions expressed in the article were based upon a comprehensive review of the
court file in the custody dispute and interviews with various participants in the case . . . .” 339
Md. at 300. But unlike the Documentary, that article did not report that the plaintiff was cleared
of any such conduct. Even so, the Court held that, read as a whole, the statements in the article
could not amount to a defamatory accusation that the plaintiff had committed abuse, because
“when read in its entirety” the story “offer[ed] [the defendant’s] views, the perspectives of others
involved in the case, and [the reporter’s] own observations of the events surrounding this high
profile custody battle.” Id. See also Janklow v. Newsweek, Inc., 759 F.2d 644, 649 (8th Cir. 1985)
(holding that publication that discussed allegations that plaintiff committed rape could not “be read
to imply that [plaintiff] was actually guilty of the alleged rape”), on reh’g (en banc), 788 F.2d 1300
(8th Cir. 1986). This is a much clearer case than even Chesapeake Publishing, since the
Documentary explicitly cleared Plaintiff of any involvement.

         And courts are especially reluctant to recognize defamation claims that, like this one, are
premised on alleged implications. Thus, even where articles have raised pointed questions about
alleged misconduct by the plaintiff, without providing any answers, courts have held that the
articles did not amount to a defamatory implication that the plaintiff was guilty. Chapin v. Knight-
Ridder, Inc., 993 F.2d 1087, 1094 (4th Cir. 1994). See also Abbas v. Foreign Policy Grp., LLC,
783 F.3d 1328, 1338 (D.C. Cir. 2015). Here, any questions initially raised about Plaintiff’s
involvement are not only immediately answered, the answer absolves Plaintiff.2

       Finally, the defamation claim also fails as a matter of law for several other reasons. The
statements by family members merely expressed their opinions, which caused investigators to

2
 The same analysis applies to a single trailer for the Documentary about which Plaintiff
complains, which appears on a webpage along with four other trailers and a news article
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inquire further. In addition, the few minutes at issue are also protected by the fair report privilege,
which protects accounts about the investigation and prosecution of crimes. See Chesapeake
Publishing, 339 Md. at 300. The Documentary explains how Plaintiff became involved in a law
enforcement investigation and was cleared.

Plaintiff’s Remaining Tort Claims Similarly Fail as a Matter of Law

        Plaintiff’s remaining claims are simply an effort to re-plead the defamation claim as
different torts. They therefore fail for the same reasons. Courts have consistently held that a
plaintiff may not avoid legal requirements for defamation claims by re-styling them as some
other tort. See, e.g., Hustler Magazine v. Falwell, 485 U.S. 46, 56 (1988); Food Lion, Inc. v.
Capital Cities/ABC, Inc., 194 F.3d 505, 522 (4th Cir. 1999); Crowley v. Fox Broad. Co., 851 F.
Supp. 700, 704 (D. Md. 1994) (“In Maryland, a claim for false light invasion of privacy may not
stand unless the claim also meets the standards for defamation.”).

        The claim for intentional infliction of emotional (“IIED”) also independently fails
because the Complaint fails to plead facts that could possibly establish Defendants’ conduct was
extreme and outrageous. Ky. Fried Chicken Nat. Mgmt. Co. v. Weathersby, 326 Md. 663, 670
(1992) (stating the tort should be “used sparingly and only for opprobrious behavior that includes
truly outrageous conduct.”). Plaintiff’s claim for “tort of outrage” is duplicative of his IIED
claim and thus fails for the same reasons. Jarvis v. Enter. Fleet Services & Leasing Co., No. CV
DKC 2007-3385, 2009 WL 10685552, at *5 (D. Md. Feb. 12, 2009). Finally, to the extent the
Complaint might be construed to allege invasion of privacy by the misappropriation of Plaintiff’s
name, that claim would fail because his name was used in connection with depicting a
newsworthy event. Lawrence v. The A.S. Abell Company, 475 A.2d 448, 453 (1984).

      The parties have met and conferred and have not resolved this matter without a motion.
Accordingly, Defendant respectfully requests permission to file a motion to dismiss.

                                                               Sincerely,

                                                               /s/ Nathan Siegel

                                                               Nathan Siegel




summarizing the case. Compl. ¶ 2 (containing link to webpage). The trailer never mentions
Plaintiff and so is not itself “of and concerning” him, and in any event by definition a trailer does
not purport to tell the full story and so must be evaluated in the context of the Documentary it
promotes. For all the reasons stated herein, the Documentary is not defamatory.
